                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTEN DISTRICT OF MISSOURI

CHERI WILLIAMS,                                      )
                                                     )
               Plaintiff,                            )       Case No.:
v.                                                   )       Division:
                                                     )
UNITED STATES POSTAL SERVICE                         )
Serve:                                               )       JURY TRIAL DEMANDED
       U.S. Attorney, Teresa A. Moore                )
       400 E. 9th Street, Room 5510                  )
       Kansas City, Missouri 64106                   )
                                                     )
               Defendant.                            )

                                            COMPLAINT

       COMES NOW Plaintiff Cheri Williams, by and through her attorneys, James Montee and

the Montee Law Firm, P.C., and, for their cause of action against Defendant United States Postal

Service states and alleges the following:

               GENERAL ALLEGATIONS – JURISDICTION AND VENUE

1.     At all times and places relevant herein, and on July 1, 2020, Plaintiff Cheri Williams was

the adoptive mother of Tony White, deceased, and a resident of Kansas City, Jackson County,

Missouri.

2.     Plaintiff is the only persons entitled to bring this action for the wrongful death of Tony

White pursuant to Missouri Revised Statute §537.080. Plaintiff brings this action under the

Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 2671-2680, to recover damages for wrongful

death. Pursuant to the FTCA, the United States is responsible for money damages, for injury or

loss of property, or personal injury or death caused by the negligent or wrongful act or omission

of any employee of the Untied States Government while acting within the scope of his or her

office or employment.



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3.     On July 8, 2008 in the Family Court Division of Jackson County, Missouri, a Decree of

Adoption was issued naming Cheri Williams as the adoptive mother of Tony White.

4.     At all times and places relevant herein, and on July 1, 2020, Tony White was a citizen

and resident of Kansas City, Jackson County, Missouri and the adoptive son of Cheri Williams.

5.     Venue is proper in the United States District Court for the Western District because the

events giving rise to the subject motor vehicle accident of July 1, 2020, and wrongful death of

Tony White and Plaintiff’s damages and wrongful death claim occurred in this District. Venue is

proper in the District Court under 28 U.S.C. §1402(b) and 28 U.S.C. §1391(e) because Plaintiff

resides in the Western District of Missouri, and the U.S. District Court has exclusive jurisdiction

over Defendants in any action brought under the Federal Tort Claims Act.

6.     This Court has jurisdiction over the parties and subject matter of this wrongful death suit

pursuant to the FTCA, 28 U.S.C. §1346(b).

7.     On October 2, 2020 Plaintiff submitted her wrongful death claim and Form 95 to the

USPS National Tort Center, St. Louis, Missouri, which was delivered and received on October

11, 2020. (See Plaintiff’s Exhibit 1 – Form 95, which is incorporated by reference.)

8.     Plaintiff received the United States Postal Service Claim Denial Letter dated April 19,

2021. (See Plaintiff’s Exhibit 2 – USPS Denial Letter, which is incorporated by reference).

9.     Plaintiff’s damages and the wrongful death of Tony White was caused by the wrongful

and negligent conduct of Shaniel Barnes, a government employee with the United States Postal

Service under circumstances where the United States Postal Service, if a private person, would

be liable to Tony White and Plaintiff in accordance with Missouri Revised Statues §537.080 and

§537.090. The United States Postal Service is an agency of the United States of America. On

July 1, 2020 and all times relevant herein, the United States of American was operating a Post

Office in Jackson County, Missouri.
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10.     On July 1, 2020 at approximately 10:07 a.m., Tony White was seriously injured while

riding his bicycle when he was struck and run over by a 2017 Dodge Ram 2500 mail delivery

van driven by Shaniel Barnes. Tony White died as a direct and proximate result of injuries

sustained in the motor vehicle accident.

11.     At all times and places relevant herein and on July 1, 2020, Shaniel Barnes was and is a

citizen and resident of Jackson County, Missouri, an agent of the United States Postal Service,

and she was acting within the scope of her employment with the United States Postal Service at

the time of the subject motor vehicle accident which caused Tony White’s death.

12.     On July 1, 2020, at approximately 10:07 a.m., Tony White was riding a bicycle traveling

eastbound on the sidewalk of East 20th Street toward the high school. Because the event giving

rise to this cause of action occurred in the State of Missouri, satisfying the most significant

relationship test in this action for wrongful death, Missouri substantive law applies.

13.     At the aforesaid time and place, Shaniel Barnes was carelessly and negligently operating

a 2017 Dodge Ram 2500 van eastbound on East 20th Street when she struck and ran over Tony

White as he was attempting to cross the road. The mail van was owned by the United States

Postal Service and it controlled and had the right to control the conduct and driving of Shaniel

Barnes at all times and places relevant.

14.     As a direct and proximate result of the injuries suffered in the motor vehicle accident,

Tony White suffered severe and painful injuries and he ultimately died as a direct result of those

injuries.

15.     Tony White died as a result of the injuries suffered in a motor vehicle accident of July 1,

2020, caused by the carelessness and negligence of Shaniel Barnes and Defendant United States

Postal Service as pled herein.



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                                     CLAIM FOR RELIEF

16.    At all times relevant herein, Shaniel Barnes was an employee and agent of Defendant

United States Postal Service, and at the time of the subject motor vehicle accident of July 1,

2020, was delivering mail rendering the United States Postal Service legally liable for the

negligence of Shaniel Barnes in causing the subject motor vehicle accident and the death of Tony

White and Plaintiff’s resulting damages.

17.    At all times and places relevant herein, and on July 1, 2020, at the time of the subject

motor vehicle accident, Shaniel Barnes was careless, negligent and at fault in causing the subject

motor vehicle accident, the death of Tony White and Plaintiff’s resulting damages, in the

following respects, to-wit:

           a. Shaniel Barnes failed to keep a careful lookout;

           b. Shaneil Barnes knew or by the use of the highest degree of care could have

               known that there was a reasonable likelihood of collision in the time thereafter to

               have stopped, swerved, or slowed, but she failed to do so;

           c. Defendant United States Postal Service’s vehicle, driven by Shaniel Barnes struck

               and ran over Tony White causing his death;

           d. Shaniel Barnes drove at a speed which made it impossible to stop within the range

               of her visibility when she struck Tony White;

           e. Shaniel Barnes failed to avoid a collision with Tony White’s bicycle;

           f. Shaniel Barnes failed to take timely and/or appropriate evasive action prior to

               collision with Tony White’s bicycle;

           g. Shaniel Barnes failed to devote sufficient attention to the control of the vehicle

               and was thereby negligent.



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18.    As a direct and proximate result of the July 1, 2020 motor vehicle accident described

herein, Tony White sustained serious and life-threatening injuries and incredible pain and

suffering prior to his death. The medical treatment to treat and try to save his life cost over

$19,930.00.

19.    Pursuant to Missouri Revised Statute §537.090, Plaintiff prays for all damages allowing

including actual damages and for such damages Tony White suffered between the time of injury

and the time of his death and for the recover of which he could have maintained had death not

ensued. Plaintiff requests the trier of fact to consider the aggravating circumstances attending the

subject motor vehicle accident and the death of Tony White as alleged herein and to award

aggravated circumstance damages pursuant to Missouri Revised Statute §537.090.

20.    Plaintiff is legally entitled to recover damages from Defendant because of the wrongful

death of Tony White, and the bodily injuries suffered by him prior to his death pursuant to

Missouri Revised Statute §537.090.

21.    As a direct and proximate result of the aforesaid carelessness, negligence, and fault of

Shaniel Barnes, Tony White was seriously injured as set forth herein, which resulted in his death

and he sustained personal injuries and damages prior to his death in the way of pain, suffering

and massive injuries. Tony White survived the initial accident and was taken by ambulance to

Children’s Mercy Hospital. He died on July 1, 2020 as a direct result of the injuries suffered in

the subject motor vehicle accident.

22.    As a direct and proximate result of the conduct and actions of Shaniel Barnes and of the

death of Tony White, Plaintiff sustained damages and has been and will continue to be

permanently deprived of the reasonable value of the society, service, affection, income, comfort,

support, and love of Tony White, such as existed prior to the aforesaid motor vehicle accident

and she has suffered damages in the past and will continue to suffer damages in the future.
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23.    As a direct result of the death of Tony White, there were funeral and other related

expenses for which Plaintiff is obligated to pay and/or have paid. Plaintiff has and will suffer

past and future losses of support as a result of the untimely death of Tony White.

24.    As a direct result of the death of Tony White, Plaintiff suffered and will continue to

suffer economic loss as established by presumption per Missouri Revised Statute §287.250 in the

amount of $1,680,655.00. (See Plaintiff’s Exhibit 3 – Economic Loss Report, which is

incorporated by reference).

25.    Pursuant to Missouri Revised Statute §537.090, Tony White, by and through the Plaintiff

herein, prays for fair and reasonable damages as and for his personal injuries and damages

suffered after the aforesaid motor vehicle collision and prior to his death, along with all other

damages allowed pursuant to Missouri law.

26.    As a direct and proximate result of the carelessness and negligence of Shaniel Barnes, all

as aforesaid and of said accident, Plaintiff has been permanently damaged and injured as a result

of the death of Tony White.

27.    In accordance with Missouri law, Plaintiff prays for fair and reasonable actual damages

against Defendant as allowed by Missouri law, for all other allowed damages under Missouri

Revised Statute §537.090, for the personal injuries, pain and damages suffered by Tony White

prior to his death and for prejudgment and post-judgment interest and the statutory court costs,

including all depositions pursuant to Missouri Revised Statute §492.590.

       WHEREFORE, Plaintiff prays for judgment against Defendant United States Postal

Service for fair and reasonable actual damages under Missouri Revised Statutes §§537.090 and

287.250, for prejudgment and post-judgment interest at the lawful rate per annum, and for such

other and further relief as the Court shall deem just and proper under the facts and circumstances



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including all statutory costs and all deposition costs and expenses pursuant to Missouri Revised

Statute §492.590.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Federal Rules of Civil Procedure 38(b), Plaintiff requests a trial by jury of all

issues triable as of right.




                                                      Respectfully submitted,
                                                      MONTEE LAW FIRM, P.C.

                                                         /s/ James Montee
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